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&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-10-01076-CV

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&nbsp;

JAVIER DUBON, Appellant

&nbsp;

V.

&nbsp;

NORTH HOUSTON POLE LINE, L.P., Appellee

&nbsp;



&nbsp;

On Appeal from the 113th District Court

Harris County, Texas

Trial Court Cause No. 2009-73884

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp; &nbsp;O P I N I O N

This appeal is from a judgment signed September 13, 2010.&nbsp; No
clerk’s record has been filed.&nbsp; The clerk responsible for preparing the record
in this appeal informed the court appellant did not make arrangements to pay
for the record.&nbsp; 

On December 8, 2010, notification was transmitted to all
parties of the court’s intention to dismiss the appeal for want of prosecution
unless, within fifteen days, appellant paid or made arrangements to pay for the
record and provided this court with proof of payment.&nbsp; See Tex. R. App.
P. 37.3(b).

Appellant has not provided this court with proof of payment
for the record. Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Justices
Anderson, Seymore, and McCally.

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